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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION
United States of America                          §
                                                  §
vs.                                               §                NO. 1:20-CR-232-RP-2
                                                  §
Krystal Sherman (2)                               §

                           REPORT AND RECOMMENDATION
                      OF THE UNITED STATES MAGISTRATE JUDGE

TO: THE HONORABLE ROBERT PITMAN
    UNITED STATES DISTRICT JUDGE

      The Magistrate Judge submits this Report and Recommendation to the District Court

pursuant to 28 U.S.C. § 636(b)(3). The District Court referred this case to the United States

Magistrate Judge for the taking of the defendant’s felony guilty plea and for her allocution

pursuant to Federal Rule of Criminal Procedure 11.

      On July 13, 2021, the defendant and counsel appeared before the Magistrate Judge. Counsel

were admonished as required by the Due Process Protection Act. The undersigned addressed the

defendant personally in open court, informed her of the admonishments under Rule 11 of the

Federal Rules of Criminal Procedure, and determined that she understood those admonishments.

The defendant pled guilty to one count of Possession of Stolen Mail, in violation of 18 U.S.C.

§ 1708.

      The Magistrate Judge finds the following:

         1. The defendant, with the advice of her attorney, consented to enter this guilty plea
            before the Magistrate Judge, subject to final approval and sentencing by the District
            Judge;
         2. The defendant fully understands the nature of the charge against her and possible
            penalties;
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       3. The defendant understands her constitutional and statutory rights, understands that
          her constitutional and statutory rights can be waived, and understands the meaning
          and effect of the waiver of her constitutional and statutory rights;
       4. The defendant’s plea was made freely and voluntarily;
       5. The defendant is competent to enter this plea of guilty; and
       6. There is a factual basis for this plea.

                                     RECOMMENDATION

   The Magistrate Judge RECOMMENDS that the District Court accept the defendant’s guilty

plea and, after reviewing the presentence investigation report, enter a Final Judgment of guilt

against her.

                                           WARNING

   The parties may file objections to this Report and Recommendation. A party filing objections

must specifically identify those findings or recommendations to which objections are being

made. The District Court need not consider frivolous, conclusive, or general objections. See

Battle v. United States Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987). A party’s failure to

file written objections to the proposed findings and recommendations contained within this

Report within fourteen (14) days after being served with a copy of the Report shall bar that party

from de novo review by the District Court of the proposed findings and recommendations and,

except on grounds of plain error, shall bar the party from appellate review of proposed factual

findings and legal conclusions accepted by the District Court to which no objections were filed.

See 28 U.S.C. § 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140, 150-53, 106 S. Ct. 466, 472-74

(1985); Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).

   SIGNED on July 13, 2021.


                                                    SUSAN HIGHTOWER
                                                    UNITED STATES MAGISTRATE JUDGE
